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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 EBONY JONES, on behalf of all others
 similarly situated, known and unknown

                       Plaintiff,                        Case No. 19-cv-06736

           v.

 CBC RESTAURANT CORP. d/b/a,
 CORNER BAKERY CAFE,

                       Defendant.


                       TABLE OF EXHIBITS TO NOTICE OF REMOVAL

    •     Exhibit A:     Class Action Complaint and Summons

    •     Exhibit B:     Declaration of Denise Clemens

    •     Exhibit C:     Defendant’s Notice of Filing of Notice of Removal

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                                    EXHIBIT C
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                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                     COUNTY DEPARTMENT, CHANCERY DIVISION

 EBONY JONES, on behalf of all others
 similarly situated, known and unknown

                     Plaintiff,                            Case No. 2019CH10119

          v.

 CBC RESTAURANT CORP. d/b/a,
 CORNER BAKERY CAFE,

                     Defendant.


                      NOTICE OF FILING OF NOTICE OF REMOVAL

To:      Chief Deputy Clerk, Chancery Division
         Circuit Court of Cook County
         Richard J. Daley Center
         50 West Washington Street, Room 802
         Chicago, IL 60602

         PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332, 1441, and 1446,

Defendant CBC Restaurant Corp. filed on October 11, 2019 a Notice of Removal in the above-

captioned matter in the United States District Court for the Northern District of Illinois, Eastern

Division. A copy of the Notice of Removal is attached at Tab 1.

         Pursuant to 28 U.S.C. § 1446(d), this shall effect the removal of this case, and the State

Court shall proceed no further unless and until the case is remanded.

Dated: October 11, 2019                        Respectfully submitted,

                                               CBC RESTAURANT CORP. d/b/a,
                                               CORNER BAKERY CAFE,

                                               By:     s/ Craig R. Thorstenson
                                                       Attorney for the Defendant
                                                       Craig R. Thorstenson (IL ARDC #:6198153)
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                         CERTIFICATE OF FILING AND SERVICE

        The undersigned, an attorney, certifies that on October 11, 2019, they electronically filed

the foregoing NOTICE OF FILING OF NOTICE OF REMOVAL with the Circuit Court of

Cook County, Illinois, Chancery Division, by using the Odyssey EfileIL system.

        The undersigned, an attorney, further certifies that they caused a copy of the foregoing

NOTICE OF FILING OF NOTICE OF REMOVAL to be served upon the following attorney of

record for Plaintiff, by electronic mail to the email address below, on October 11, 2019:

                             Douglas M. Werman (dwerman@flsalaw.com)
                               Maureen A. Salas (msalas@flsalaw.com)
                            Zachary C. Flowerree (zflowerree@flsalaw.com)
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                                                      s/ Craig R. Thorstenson



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